          Case 2:12-cr-00362-TLN Document 182 Filed 12/30/14 Page 1 of 2


1    Malcolm Segal (SBN 075481)
2
     Emily E. Doringer (SNB 208727)
     SEGAL & ASSOCIATES, PC
3    400 Capitol Mall, Suite 2550
     Sacramento, CA 95814
4    Telephone: (916) 441-0886
5    Facsimile: (916) 475-1231
     msegal@segal-pc.com
6    edoringer@segal-pc.com
7
     Attorneys for Defendant
8    Ray Kornfeld
9
                               UNITED STATES DISTRICT COURT
10
                              EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                      Case No: CR. S-12-0362 TLN
13
                      Plaintiff,                    STIPULATION AND ORDER
14                                                  CONTINUING JUDGMENT AND
     v.                                             SENTENCING
15

16   RAY KORNFELD,
17
                      Defendant.
18

19

20           The defendant, RAY KORNFELD, through his counsel of record, Malcolm

21   Segal, Segal & Associates, PC, and plaintiff United States of America, through its

22   counsel, Assistant United States Attorney Philip Ferrari, agree and stipulate that,

23   in order to permit counsel for the defendant time to review discovery materials,

24   prepare for sentencing and submit formal objections to the Presentence Report

25   and any other additional materials, in light of scheduling difficulties, the Judgment

26   and Sentencing currently set for January 22, 2015 may be continued to February

27   19, 2015 at 9:30 a.m. in accordance with the following schedule:

28
                                                     1
                          Stipulation & Order Continuing Judgment and Sentencing
       Case 2:12-cr-00362-TLN Document 182 Filed 12/30/14 Page 2 of 2


1

2          Judgment and Sentencing Date:                             February 19, 2015

3          Reply or Statement of Non-Opposition:                     February 12, 2015;

4          Motion for Correction of the Presentence Report:          February 5, 2015;

5          Presentence Report filed:                                January 27, 2014;

6

7          IT IS SO STIPULATED.
8                                             Respectfully submitted,

9                                             SEGAL & ASSOCIATES, PC
10

11   Dated: December 24, 2014             By: /s/ Malcom Segal
                                             MALCOLM SEGAL
12                                           Attorneys for Defendant
13
                                             RAY KORNFELD

14
                                              BENJAMIN B. WAGNER
15                                            United States Attorney
16

17   Dated: December 24, 2014                 By: /s/ Philip Ferrari
                                              PHILIP FERRARI
18
                                              Assistant United States Attorney (per
19                                            authorization)
20                                            ORDER

21               UPON GOOD CAUSE SHOWN and on the stipulation of all parties, it

22   is Ordered that the Judgment and Sentencing currently set for January 22, 2015,

23   shall be continued to February 19, 2015 at 9:30 a.m. in accordance with the

24   schedule set forth above.

25
     Dated:   December 30, 2014
26
                                                            Troy L. Nunley
27
                                                            United States District Judge
28
                                                   2
                        Stipulation & Order Continuing Judgment and Sentencing
